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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                  TEXARKANA DIVISION

 UNITED STATES OF AMERICA                              §
                                                       §
 v.                                                    §                            5:20-CR-2
                                                       §
 EMILIA CLINCH                                         §

               FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
                    BEFORE THE UNITED STATES MAGISTRATE JUDGE

          Pursuant to 28 U.S.C. ' 636(b), this matter has been referred by the District Court for

 administration of the guilty plea and allocution under Rule 11 of the Federal Rules of Criminal

 Procedure.

          On October 1, 2020, this cause came before the undersigned United States Magistrate

 Judge for guilty plea and allocution of the Defendant on Count 1 of the Indictment.     Count 1 of

 the Indictment charges a violation of 18 U.S.C. § 641, theft of government property. After

 conducting said proceeding in the form and manner prescribed by Fed. R. Crim. P. 11, the Court

 finds:

          a.       That the Defendant, after consultation with counsel of record, has knowingly and

 voluntarily consented to the administration of the Guilty Plea and Allocution in this cause by a

 United States Magistrate Judge subject to a final approval and imposition of sentence by the

 District Court.

          b.       That the Defendant and the Government have entered into a plea agreement, which

 has been filed and disclosed in open court pursuant to Fed. R. Crim. P. 11(c)(2) and 11(c)(1)(C).

          c.       That the Defendant is fully competent and capable of entering an informed plea,

 that the Defendant is aware of the nature of the charges and the consequences of the plea, and that

 the plea of guilty is a knowing and voluntary plea supported by an independent basis in fact
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     containing each of the essential elements of the offenses.

            d.      Within fourteen (14) days after receipt of the magistrate judge=s report, any party

     may serve and file written objections to the findings and recommendations of the undersigned.

     Both parties waive the objection period.

            IT IS THEREFORE RECOMMENDED that the District Court accept the Plea Agreement

     and the Guilty Plea of the Defendant, and that EMILIA CLINCH should be finally adjudged guilty

     of the offenses listed above.

           SIGNED this 1st day of October, 2020.




                                                          ____________________________________
                                                          CAROLINE M. CRAVEN
                                                          UNITED STATES MAGISTRATE JUDGE




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